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                              UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF LOUISIANA


   In re:                                                      Case No. 18-13335
            EUGENE BARON SCHWING, JR.

                       Debtor(s)


            CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

          S.J. Beaulieu, Jr., chapter 13 trustee, submits the following Final Report and Account of
   the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as
   follows:

            1) The case was filed on 12/14/2018.

            2) The plan was confirmed on 03/20/2019.

            3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
   NA .

        4) The trustee filed action to remedy default by the debtor in performance under the plan
   on NA .

            5) The case was completed on 10/10/2023.

            6) Number of months from filing or conversion to last payment: 58.

            7) Number of months case was pending: 64.

            8) Total value of assets abandoned by court order: NA .

            9) Total value of assets exempted: $114,912.50.

            10) Amount of unsecured claims discharged without full payment: $0.00.

            11) All checks distributed by the trustee relating to this case have cleared the bank .




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   Receipts:

          Total paid by or on behalf of the debtor           $97,731.12
          Less amount refunded to debtor                      $1,748.33

   NET RECEIPTS:                                                                                 $95,982.79


   Expenses of Administration:

       Attorney’s Fees Paid Through the Plan                              $3,200.00
       Court Costs                                                            $0.00
       Trustee Expenses & Compensation                                    $8,509.52
       Other                                                                  $0.00
   TOTAL EXPENSES OF ADMINISTRATION:                                                             $11,709.52

   Attorney fees paid and disclosed by debtor:               $500.00


   Scheduled Creditors:
   Creditor                                    Claim         Claim            Claim        Principal       Int.
   Name                             Class    Scheduled      Asserted         Allowed         Paid         Paid
   ABSOLUTE RESOLUTION INVESTMEN Unsecured      3,856.85           0.00         3,856.85      3,856.85      409.20
   ALLY FINANCIAL                Unsecured            NA            NA               NA            0.00        0.00
   ALTRAN FINANCIAL LP           Unsecured         565.73           NA               NA            0.00        0.00
   AMERICAN EXPRESS NATIONAL BAN Unsecured      1,102.00           0.00         1,325.47      1,325.47      140.75
   AMEX                          Unsecured     14,637.50            NA               NA            0.00        0.00
   AMEX                          Unsecured      6,659.00            NA               NA            0.00        0.00
   BANK OF AMERICA               Unsecured      5,339.49           0.00         5,874.12      5,823.67      623.08
   CAPITAL ONE BANK USA NA       Unsecured      3,020.00           0.00         3,020.27      3,020.27      320.65
   CAVALRY SPV I LLC             Unsecured      1,400.00           0.00         1,400.01      1,400.01      148.68
   CHASE/BANK ONE CARD SERVICES Unsecured       7,319.00            NA               NA            0.00        0.00
   CHASE/BANK ONE CARD SERVICES Unsecured       3,991.00            NA               NA            0.00        0.00
   CITIBANK NA                   Unsecured      1,132.00           0.00         1,392.23      1,392.23      147.87
   CITICARDS CBNA                Unsecured     10,517.00            NA               NA            0.00        0.00
   DELL FINL SVCS WEB BANK       Unsecured            NA            NA               NA            0.00        0.00
   DISCOVER FINANCIAL            Unsecured      5,467.42           0.00         1,118.91      1,068.12       76.09
   DISCOVER FINANCIAL            Unsecured            NA           0.00         1,522.30      1,480.53       95.54
   FIRST BANKCARD                Unsecured      3,758.21            NA               NA            0.00        0.00
   JEFFERSON CAPITAL SYSTEMS LLC Unsecured         747.00          0.00           747.02        747.02       80.17
   JPMORGAN CHASE BANK NA        Unsecured      3,595.00           0.00         3,595.11      3,595.11      381.44
   JPMORGAN CHASE BANK NA        Unsecured      3,837.00           0.00         3,919.02      3,919.02      415.76
   MIDLAND CREDIT MANAGEMENT     Unsecured      5,224.00           0.00         5,224.10      5,224.10      554.32
   P) REPUBLIC FINANCE LLC       Unsecured         486.00           NA               NA            0.00        0.00
   PRA RECEIVABLES MANAGEMENT L Unsecured       2,697.07           0.00         2,462.55      2,462.55      261.28
   PRA RECEIVABLES MANAGEMENT L Unsecured       1,588.00           0.00         1,981.05      1,981.05      210.20
   PRA RECEIVABLES MANAGEMENT L Unsecured          445.73          0.00           872.84        872.84       92.68
   PRA RECEIVABLES MANAGEMENT L Unsecured          788.58          0.00         1,003.48      1,003.48      106.51
   PRA RECEIVABLES MANAGEMENT L Unsecured       5,422.80           0.00         5,422.80      5,422.80      575.37
   QUANTUM3 GROUP LLC/NCEP LLC   Unsecured         335.00          0.00           335.32           0.00        0.00
   REPUBLIC FINANCE LLC          Unsecured         505.00          0.00         1,075.12      1,075.12      114.20
   RESURGENT CAPITAL SERVICES    Unsecured     12,000.00           0.00       19,260.18      19,260.18    2,044.60
   RESURGENT CAPITAL SERVICES    Unsecured      4,499.00           0.00         4,784.43      4,784.43      507.92



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   Scheduled Creditors:
   Creditor                                       Claim        Claim         Claim        Principal       Int.
   Name                                 Class   Scheduled     Asserted      Allowed         Paid          Paid
   ROOMS TO GO LOUISIANA CORP       Unsecured           NA            NA           NA             0.00        0.00
   SEARS/CBNA -                     Unsecured      1,547.00           NA           NA             0.00        0.00
   SPECIALIZED LOAN SERVICING LLC   Secured      138,599.00          0.00   138,008.80            0.00        0.00
   STATE FARM BANK                  Unsecured      6,556.00          0.00     6,556.45       6,556.45      695.66
   SYNCHRONY BANK                   Unsecured      7,218.06           NA           NA             0.00        0.00


   Summary of Disbursements to Creditors:
                                                                Claim           Principal                Interest
                                                              Allowed               Paid                    Paid
   Secured Payments:
         Mortgage Ongoing                                $138,008.80                  $0.00               $0.00
         Mortgage Arrearage                                    $0.00                  $0.00               $0.00
         Debt Secured by Vehicle                               $0.00                  $0.00               $0.00
         All Other Secured                                     $0.00                  $0.00               $0.00
   TOTAL SECURED:                                        $138,008.80                  $0.00               $0.00

   Priority Unsecured Payments:
          Domestic Support Arrearage                            $0.00                 $0.00               $0.00
          Domestic Support Ongoing                              $0.00                 $0.00               $0.00
          All Other Priority                                    $0.00                 $0.00               $0.00
   TOTAL PRIORITY:                                              $0.00                 $0.00               $0.00

   GENERAL UNSECURED PAYMENTS:                            $76,749.63         $76,271.30              $8,001.97


   Disbursements:

          Expenses of Administration                           $11,709.52
          Disbursements to Creditors                           $84,273.27

   TOTAL DISBURSEMENTS :                                                                        $95,982.79




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           12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
   the estate has been fully administered, the foregoing summary is true and complete, and all
   administrative matters for which the trustee is responsible have been completed . The trustee
   requests a final decree be entered that discharges the trustee and grants such other relief as may
   be just and proper.

   Dated: 04/11/2024                             By:/s/ S.J. Beaulieu, Jr.
                                                                             Trustee

   STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
   Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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